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UNITED STATES D|STR|CT COURT H:D l "`"" la

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CASE NO. 03 26793 zal<_ ~`i -;;`..“'.NT
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JANET SH|RLEY, as surviving Spouse,
and for the estate ofJERRY SH|RLEY,
Deceased, JASON SHIRLEY, JAYANN
SH|RLEY, and JANA SHiRLEY, children
of Deceased, JERRY SH|RLEY,

F’laintiffs1
v.

THE GOODYEAR T|RE & RUBBER COi\/iPANY,
an Ohio corporation, GOODYEAR DUNLOP
T|RES NORTH Ai\/|ER|CA, LTD., a New York
corporation, SUMITO|V|O RUBBER iNDUSTRiES1

|NC., a foreign corporation, and DUNLOP T|RE
CORPORATION, a De|aware corporation,

Defendants.
/

 

ORER RE PLA|NTIFFS’ MOTFON TO SEAL PLA|NT|FFS’ OPPOS|TlON TO
DEFENDANT GOODYEAR T|RE & RUBBER COMPANY AND GOODYEAR DUNLOP
T|RE NORTH AMER|CA. LTD’S MOT|ON FOR SUMMARY JU[,_)§MENT AND

PLA|NT|FFS’ RULE 7.2(D||3| RESPONSE TO DEFENDANTS’ RULE 7.2(Dl§2}

STATEN|ENT OF UND|SPUTED MATER|AL FACTS

 

This matter, having come before the Court on Piaintiffs’ |\/lotion to Sea| their
Opposition to Defendant Goodyear Tire & Rubber Company and Goodyear Dun|op
Tires of North America, LTD’s |\/|otion for Summary Judgment and P|aintiffs’ Ru|e
7.2(D)(3) Response to Defendants’ Ru|e 7.2(D)(2) Statement of Undisputed |V|ateria|

Facts, inclusive oftheir exhibits., and the Court being fully advised in the premises, it is

ORDERED and ADJUDGED that Piaintiffs’ motion is GRANTED. The Cierk shall

seal the Opposition, Response, and accompanying exhibits immediate|y.

This document entered on the docket shearin compliance
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Case 2:03-cv-02679-.]DB-tmp Document 93 Filed 05/24/05 Page 2 of 4 Page|D 115

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DONE and ORDERED in chambers, i\/|emphis, Tennessee, this E day Of

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Notice of Distribution

This notice confirms a copy of the document docketed as number 93 in
case 2:03-CV-02679 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

